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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS


                                                  )
                                                  )
     Mason Woolley                                )
                      Plaintiff,                  )
                                                  )
                                                  )
        v.                                        )       CIVIL ACTION
                                                  )       NO. 19-cv-30004-MGM
     University of Massachusetts                  )
                                                  )
                      Defendant.                  )
                                                  )
                                                  )




        REPORT RE: REFERENCE FOR ALTERNATIVE DISPUTE RESOLUTION

                                   TO: JUDGE MASTROIANNI

HENNESSY, M.J.

On July 24, 2019, I held the following ADR proceedings:

____ EARLY NEUTRAL EVALUATION                       X MEDIATION
____ MINI-TRIAL                                   _____ SUMMARY JURY TRIAL
____ SETTLEMENT CONFERENCE

The Court reports the case was:

(X )    Settled. Your clerk should enter a 30 day order of dismissal.
( )     There was progress. A further conference has been scheduled for __________________.
        unless the case is reported settled prior to that date.
()      Further efforts to settle this case at this time are, in my judgment, unlikely to be
        productive. This case should be restored to your trial list.


July 24, 2019                                     /s/ David. H. Hennessy
Date                                              David H. Hennessy, USMJ
